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     Sam’s West, Inc.
 9
                                    UNITED STATES DISTRICT COURT
10

11                                          DISTRICT OF NEVADA

12   DEVRA HANEY-WILLIAMS,                                   Case No.: 2:17-cv-02900-JCM-EJY

13                          Plaintiff,                    STIPULATION AND [PROPOSED] ORDER
     v.                                                   EXTENDING TIME TO FILE OPPOSITION
14
                                                          AND REPLY BRIEFS TO ALL PENDING
     SAM’S WEST INC., dba SAM’S PHARMACY
15   #10-4974,                                            MOTIONS [ECF NOS. 135, 136, 137, 138,
                                                          139]
16                         Defendants.
                                                          [FIRST REQUEST]
17
     SAM’S WEST INC.,
18
                            Third-Party Plaintiff,
19   v.
20
     JUBILANT CADISTA
21   PHARMACEUTICALS, INC., and DOES 1-10,
     inclusive,
22
                            Third-Party Defendants.
23
            Plaintiff DEVRA HANEY-WILLIAMS (hereinafter “Plaintiff”), Defendant/Third-Party
24
     Plaintiff SAM’S WEST, INC. (hereinafter “Sam’s West”), and Third-Party Plaintiff JUBILANT
25
     CADISTA PHARMACEUTICALS, INC. (hereinafter “Jubilant”) (collectively, “the Parties”), by
26
     and through their respective counsel of record, do hereby stipulate and jointly request that the court
27
     approve extensions of time for the parties to file Opposition and Reply Briefing with respect to the
28
     following motions currently pending before this Court:

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 1            (1)   Third-Party Defendant Jubilant Cadista Pharmaceuticals Inc.’s Motion For Summary
 2                  Judgment [ECF No. 135] – Response due October 29, 2021
 3            (2)   Defendant Sam’s West, Inc.’s Motion For Summary Judgment On The First Amended
 4                  Complaint Filed By Plaintiff Devra Haney-Williams [ECF No. 136] – Response due
 5                  October 29, 2021
 6            (3)   Defendant Sam’s West, Inc.’s Motion to Exclude Plaintiff’s Untimely Disclosure of
 7                  Expert Christopher Milford M.D. Pursuant to FRCP 37(c)(1) [ECF No. 137] –
 8                  Response due October 22, 2021
 9            (4)   Plaintiff’s Motion To Strike Defendant’s Expert Neal L. Benowitz, M.D. [ECF No.
10                  138]– Response due October 22, 2021
11            (5)   Plaintiff’s Motion for Summary Judgment [ECF No. 139] – Response due October 29,
12                  2021
13          Due to the trial schedules of counsel as well as the upcoming Thanksgiving holiday, the parties
14   stipulate that the deadlines for filing Oppositions to the above-referenced Motions (ECF Nos. 135,
15   136, 137, 138, and 139) shall be extended up to and through December 3, 2021. The parties further
16   stipulate that the deadline for filing Reply briefs in support of the above-referenced Motions (ECF
17   Nos. 135, 136, 137, 138, and 139) shall be extended up to and through December 17, 2021. The
18   parties aver that this is the first stipulation for an extension of time with respect to these Motions, that
19   the requested extension will not alter any date previously set by the Court in this matter, and this
20   request is made in good faith and not for purposes of delay.
21          IT IS HEREBY STIPULATED AND AGREED as follows:
22            (1)   Sam’s West’s Opposition to Jubilant’s Motion for Summary Judgment [ECF No. 135]
23                  shall be due December 3, 2021;
24            (2)   Jubilant’s Reply Brief in support of their Motion for Summary Judgment [ECF No.
25                  135] shall be due December 17, 2021;
26            (3)   Plaintiff’s Opposition to Sam’s West’s Motion for Summary Judgment [ECF No. 136]
27                  shall be due December 3, 2021;
28


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 1             (4)   Sam’s West’s Reply Brief in support of their Motion for Summary Judgment [ECF No.
 2                   136] shall be due December 17, 2021;
 3             (5)   Plaintiff’s Opposition to Sam’s West’s Motion to Exclude Plaintiff’s Untimely
 4                   Disclosure of Expert Christopher Milford M.D. Pursuant to FRCP 37(c)(1) [ECF No.
 5                   137] shall be due December 3, 2021;
 6             (6)   Sam’s West’s Reply in Support of their Motion to Exclude Plaintiff’s Untimely
 7                   Disclosure of Expert Christopher Milford M.D. Pursuant to FRCP 37(c)(1) [ECF No.
 8                   137] shall be due December 17, 2021;
 9             (7)   Sam’s West’s Opposition to Plaintiff’s Motion To Strike Defendant’s Expert Neal L.
10                   Benowitz, M.D. [ECF No. 138] shall be due December 3, 2021;
11             (8)   Plaintiff’s Reply Brief in Support of Motion to Strike Defendant’s Expert Neal L.
12                   Benowitz, M.D. [ECF No. 138] shall be due December 17, 2021;
13             (9)   Sam’s West’s Opposition to Plaintiff’s Motion for Summary Judgment [ECF No. 139]
14                   shall be due December 3, 2021;
15   ...
16   ...
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 1            (10) Plaintiff’s Reply Brief in support of her Motion for Summary Judgment [ECF No. 139]
 2                 shall be due December 17, 2021.
 3   IT IS SO AGREED AND STIPULATED.

 4   Dated: October 20, 2021                               Dated: October 20, 2021
 5   PHILLIPS, SPALLAS & ANGSTADT LLC                      MORRISON MAHONEY LLP

 6   /s/ Alyce W. Foshee.                                  /s/ Arthur J. Liederman
     _____________________________                         _____________________________
 7   ROBERT K. PHILLIPS                                    ARTHUR J. LIEDERMAN, ESQ.
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                                                           Las Vegas, Nevada 89149
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                                                           Attorneys for third-Party Defendant Jubilant
15                                                         Cadista Pharmaceuticals, Inc.
     Dated: October 20, 2021
16   STOVALL & ASSOCIATES
17
     /s/ Ross Moynihan
18   _____________________________
     LESLIE MARK STOVALL, ESQ.
19   Nevada Bar No. 2566
     ROSS MOYNIHAN, ESQ.
20   Nevada Bar No. 11848
     2301 Palomino Lane
21
     Las Vegas, Nevada 89107
22   Attorneys for Plaintiff
     Devra Haney-Williams
23

24
     IT IS SO ORDERED.
25                                                         ____________________________________
                                                           Hon. James C. Mahan
26                                                         UNITED STATES DISTRICT JUDGE
27
                                                                October 22, 2021
28                                                         DATE:___________________


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 1                                      CERTIFICATE OF SERVICE
 2          I hereby certify that on the 20th day of October 2021, I served a true and correct copy of the
 3   foregoing, STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO FILE
 4   OPPOSITION AND REPLY BRIEFS TO ALL PENDING MOTIONS [ECF NOS. 135, 136,
 5   137, 138, 139, as follows:
 6              By facsimile addressed to the following counsel of record, at the address listed below;
 7              By placing same to be deposited for mailing in the United States Mail, in a sealed envelope
 8   upon which first class postage was prepaid in Las Vegas, Nevada;
 9              By Hand Delivery (ROC); and/or
                By Electronic Service through CM/ECF to:
10

11              ATTORNEY OF RECORD                              TELEPHONE/FAX                  PARTY
     ROSS MOYNIHAN, ESQ.                                     Phone: (702) 258-3034           Attorneys for
12   Nevada Bar No. 11848                                    Fax: (702) 258-0093               Plaintiff
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25
                                          /s/ Alyce Foshee
26
                         An Employee of PHILLIPS, SPALLAS & ANGSTADT LLC
27

28


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